        Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 1 of 39




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JANE DOE,                                             )
                                                      )       No.:
                               Plaintiff              )
               v.                                     )       JURY TRIAL DEMANDED
                                                      )
MORAVIAN COLLEGE, ROLAND CASH-                        )
MABRY, ROBERTO DIAZ, AND DOMINIC                      )
HARRIS a/k/a DOM HARRIS,                              )
Individually and Jointly,                             )
                                                      )
                               Defendants             )

                    PETITION FOR REMOVAL OF CIVIL ACTION


       AND NOW, comes Defendant, MORAVIAN COLLEGE, by and through its

counsel, Marshall, Dennehey, Warner, Coleman & Goggin, and files the within Petition for

Removal of Civil Action from the Court of Common Pleas of Northampton County,

Pennsylvania, to the United States District Court for the Eastern District of Pennsylvania,

representing as follows:

1.     The above action was initiated on August 22, 2019 by "Jane Doe" in the Court of

Common Pleas of Northampton County, Pennsylvania, by the filing of a Writ of Summons.

2.     Thereafter Plaintiff "Jane Doe" filed a complaint on December 13, 2019 against the

above-captioned Defendants. A true and correct copy of plaintiff's complaint is attached

hereto as Exhibit "A".

3.     Plaintiff has asserted claims against removing defendant Moravian College pursuant

to Title IX of the Civil Rights Act of 1964, 20 U.S.C., §l681 - 1688 et seq. as well as state
           Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 2 of 39




law claims against Moravian College and the codefendants pursuant to Pennsylvania

common law.

4.         This Court has original jurisdiction over Plaintiff's claims under Title IX against

Moravian College pursuant to 28 U.S.C. §1331 and §1343 and the cause of action is thereby

removed to this Court pursuant to the procedures authorized by 28 U.S.C. §1441(a) and (c).

5.     Jurisdiction of this matter lies with this Court because plaintiff is pursuing claims

under federal law including claims under Title IX of the Civil Rights Act of 1964, 20 U.S.C.,

§l681 - 1688 (Counts I - III).

6.     Plaintiff served defendant Moravian College with her complaint via electronic mail

on December 20, 2019.

7.     This Notice of Removal has been filed within thirty (30) days after receipt by

Defendant Moravian College of the Complaint in accordance with 28 U.S.C. §1446(b).

8.     Codefendants Roland Cash-Mabry, Roberto Diaz and Domenic Harris are not

currently represented by counsel however Moving Defendant has notified codefendants of

this petition for removal of this matter to federal court and requested such defendants'

consent to the within Petition for Removal. No response to moving defendant’s request

has been provided to date.

9.     Regardless, the claims against codefendants are properly severed from the claims

against moving defendant and therefore this matter is properly removed to this honorable

court pursuant to 28 U.S.C. §1446(c).

10.    Written notice of the filing of this Notice of Removal has been given to the adverse

party in accordance with 28 U.S.C. §1446(d) and as noted in the attached Certificate of

Service.
        Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 3 of 39




11.    Promptly after filing with this Honorable Court and with the assignment of a Civil

Action Number, a copy of this Notice of this Removal will be filed with the Court of

Common Pleas of Northampton County, Pennsylvania in accordance with 28 U.S.C.

§1446(d).

       WHEREFORE, Defendant, Moravian College respectfully requests that this

Honorable Court remove the above-captioned action pending in the Court of Common

Pleas of Northampton County, Pennsylvania to the United States District Court for the

Eastern District of Pennsylvania.

                                            Respectfully submitted:

                                            MARSHALL, DENNEHEY, WARNER
                                            COLEMAN & GOGG IN, P.C.

Date: January 17, 2020                      By:     /s/ Paul G. Lees
                                                    Paul G. Lees, Esquire
                                                    Identification No. 68886
                                                    4905 W. Tilghman Street, Suite 300
                                                    Allentown, PA 18104
                                                    (484) 895-2321
                                                    (484) 895-2303 (fax)
                                                    Email: pglees@mdwcg.com
                                                    Attorneys for Defendant
                                                    Moravian College
       Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 4 of 39




                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JANE DOE,                                          )
                                                   )       No.:
                             Plaintiff             )
              v.                                   )       JURY TRIAL DEMANDED
                                                   )
MORAVIAN COLLEGE, ROLAND CASH-                     )
MABRY, ROBERTO DIAZ, AND DOMINIC                   )
HARRIS a/k/a DOM HARRIS,                           )
Individually and Jointly,                          )
                                                   )
                             Defendants            )



                                   CERTIFICATION

       I, PAUL G. LEES, ESQUIRE, hereby certify that the facts set forth in the foregoing

Notice of Removal are true and correct to the best of my knowledge, information and belief.


                                            MARSHALL, DENNEHEY, WARNER
                                            COLEMAN & GOGG IN, P.C.

Date: Januaruy 17, 2020                     By:    /s/ Paul G. Lees
                                                   Paul G. Lees, Esquire
                                                   Identification No. 68886
                                                   4905 W. Tilghman Street, Suite 300
                                                   Allentown, PA 18104
                                                   (484) 895-2321
                                                   (484) 895-2303 (fax)
                                                   Email: pglees@mdwcg.com
                                                   Attorneys for Defendant
                                                   Moravian College
        Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 5 of 39




                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the Notice of Filing of Petition for

Removal was served on the following counsel of record via U.S. Mail, postage prepaid, on

January 17, 2020:

John R. Vivian, Jr., Esquire               Adam D. Meshkov, Esquire
831 Lehigh Street                          Eleanor M. Breslin, Esquire
Easton, PA 18042                           830 Lehigh Street
Attorney for Plaintiff                     Easton, PA 18042
                                           Attorneys for Plaintiff

Roland Cash Mabry
625 Broadway
Bethlehem, PA 18015

Roberto Diaz
425 Pierce Street
Bethlehem, PA 18015

Dominic Harris
3237 East Blvd
Bethlehem, PA 18017

                                           MARSHALL, DENNEHEY, WARNER
                                           COLEMAN & GOGG IN, P.C.

Date: January 17, 2020                     By:___/s/ Paul G. Lees_______________
                                                 Paul G. Lees, Esquire
                                                 Identification No. 68886
                                                 4905 W. Tilghman Street, Suite 300
                                                 Allentown, PA 18104
                                                 (484) 895-2321
                                                 (484) 895-2303 (fax)
                                                 Email: pglees@mdwcg.com
                                                 Attorneys for Defendants
                                                 Circle of Seasons Charter School
                                                 Scott Lesko, Pamela Zebrine, Kimberly
                                                 Heiman, Christopher Herztog,
                                                 Dr. Darin Mazepa, Kalyna Procyk and
                                                 Cory Reinhardt
Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 6 of 39




    EXHIBIT "A"
         Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 7 of 39                                     I
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       [N THE COURT OF COMMON PLEAS OF NORTHAMPTON COUNTY, PENNSYLVANIA
                               CIVIL ACTION - LAW

JANE DOE,                                              )      No. C-0048-CV-2019-770 l
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                                       Plaintiff,      )                       o Ra
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MORAVIAN COLLEGE, ROLAND CASH-                         )                        :8'1
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MABRY, ROBERTO DIAZ, and                               )
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DOMINIC HARRJS a/k/a DOM HARRIS,                       )                        Z.  V"
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Individually and Jointly,                              )       CIVIL ACTIO                                     r


                               Defendants.             )       JURY TRIAL DEMANDED

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                                            NQTIQE
         You have been sued in Court. If you wish to defend against the claims set forthlin the
following pages, you must take action within twenty (20) days after this complaint and notice are
served, by entering a written appearance personally or by attorney and filing in writing with the
Court your defenses or objections to the claims set forth against you. You are warned that if you
fail to do so, the case may proceed without you and a judgment may be entered against you by
the Court without further notice for any money claimed in the complaint or for any other claim
or relief requested by the plaintiff (s). You may lose money or property or other rights important
to you.

     YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO
NOT HAVE A LAWYER OR CANNOT AFFORD ONE, GO TO OR TELEPHONE THE
OFFICE SET FORTH BELOW TO FIND OUT WHERE YOU CAN GET LEGAL HELP.

                                 LAWYER REFERRAL SERVICE
                                     155 South Ninth Street
                                       Easton, PA 18042
                                                                                                                   r
                                   Telephone: (610) 258-6333                                                       l


        The Court of Common Pleas is required by law to comply with the Americans with Disabilities
Act of 1990. For information about accessible facilities and reasonable accommodations available to
disabled individuals having business before the Court, please call (6 l0)559-3000. All arrangements must
be made at least 72 hours prior to any hearing or business before the Court. You must attend the
scheduled conference or hearing.
            Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 8 of 39


                                                                                                           F




         IN THE COURT OF COMMON PLEAS OF NORTHAMPTON COUNTY, PENNSYLVANIA
                                                                                                           s




                                 CIVIL ACTION LAW
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    JANE DOE,                                             )      No. C-0048-CV-2019-7701
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                                            PlaintiH`,    )                                                I
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                   vs.                                    )                     1% § 3
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    MORAVIAN COLLEGE, ROLAND CASH-                        )                      '.2#"'<-> -               1

    MABRY, ROBERTO DIAZ, and                              )                      ef-'92   w
                                                                                                 W
    DONHNIC HARRIS a/k/a DOM HARRIS,
    Individually and Jointly,
                                                          )
                                                          )      CIVIL ACTIOM*-'*
                                                                                          >
                                                                                          ::     O
                                     Defendants .         )      JURY 1R1ALDEMAN818D


                                                     COMPLAINT


           Plaintiff, Jane Doe (hereinafter referred to as the Plaintiff), by and through her attorneys,

I   John R. Vivian, Jr., Esquire and Adam D. Meshkov, Esquire, and Eleanor Breslin, Esquire, brings            I


    the following civil action Complaint against the Defendant Moravian College (hereinafter

    Moravian), Defendant Roland Cash-Mabry (hereinafter Cash-Mabry), Defendant Robert Diaz

    (hereinafter Diaz), and Defendant Dominic HaMs a/k/a Dom Harris (hereinafter Harris) and

    respectfully avers as follows:

            1.     Plaintiff Jane Doe, is an adult individual residing in the Commonwealth of

    Pennsylvania, and at the time of the incident complaint of herein was a matriculated student at

    Defendant Moravian on August 25, 20]7 and was residing on the campus of Defendant

    Moravian. Plaintiff is using the Jane Doe pseudonym because of the sensitive nature of the

    incidents complained of herein and the embarrassment and shame caused by the incidents

    described hereinafter in this Complaint.




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        Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 9 of 39




       2.      Defendant Moravian, is upon information and belief a validly existing

organization or institution believed to be a non-profit corporation of an educational nature, with

its principle place of business at 1200 Main Street, City of Bethlehem, County of Northampton,

Pennsylvania 18018 and at all times material hereto said Defendant Moravian was providing

resident education to the Plaintiff including living quarters under their control at their main

campus located at the aforementioned address.

        3.     Defendant Cash-Mabry is an adult individual residing at 625 Broadway,

Bethlehem, County of Northampton, Commonwealth of Pennsylvania, and is also believed to                 .
                                                                                                        !
                                                                                                        II



maintain a residence on the campus of Defendant Moravian.
                                                                                                        i


        4.     Defendant Diaz is an adult individual residing at 425 Pierce Street, Bethlehem,
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                                                                                                        I
County of Northampton, Commonwealth of Pennsylvania, and is also believed to maintain a                 I



residence on the campus of Defendant Moravian.

        5.     Defendant Harris is an adult individual residing at 3237 East Blvd., Bethlehem,
                                                                                                         IIi

                                                                                                        !
County of Northampton, Commonwealth of Pennsylvania, and is believed to be a student                     :




matriculated at Bloomsbury University and maintaining residence at Bloomsbury University. At

all times mentioned herein, the Defendant Harris was a visitor present on the campus of

Defendant Moravian during the incidents complained of hereinafter.

                                         JURI SDIC TION_

        6.      This Court has Jurisdiction over this matter as P1a'1ntiff's claims arise under Title

IX of the Civil Rights Act of 1964, 20 U.S.C., §l681 - 1688 et seq., as amended by the civil

rights of 1972 and 42 U.S.C., §1983. Jurisdiction under this Act is not exclusively federal, and

therefore this Coup may entertain this action by law. The matter in controversy exceeds the sum

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        Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 10 of 39




or value of Fifty Thousand ($50,000.00) Dollars exclusive of interest and costs as to each and
                                                                                                    !I

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every Cause ofActioll and Count as set forth hereinafter.

                                            VENUE

       7.      Venue is proper in this Court pursuant to PA. R,C.P,, No. 1006(a)(I)(2)(b) and (c)


(1).

       FACTUAL BACKGROUND ALLEGATIONS COMMON TO ALL COUNTS                                           i
                                                                                                     !

       8.      Plaintiff matriculated and began her education at Defendant Moravian in August

2017 and completed her first year at Defendant Moravian ending in May 2018, during which
                                                                                                         I
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                                                                                                     .:
time in addition to completing her classwork she was a member of the Moravian Cheerleading           :



Squad. P1ainti8 transferred following completion of her first year to another Pennsylvania

college where she is still matriculated.                                                                 II
                                                                                                          I
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        9.     Defendant Cash-Mabry is believed to have been a Defendant Moravian student

enrolled and in attendance at Defendant Moravian during the year 2017 - 2018, and is believed to         l
                                                                                                         |

still be a student in attendance at Defendant Moravian and a member of the Track Team in                 :


addition to pursuing his studies.

        10.    Defendant Diaz is believed to have been a Defendant Moravian student enrolled

and in attendance at Defendant Moravian during the year 2017 - 2018, and is be}ieved to still be

a student in attendance at Defendant Moravian and a member of the Football Team in addition to

pursuing his studies.                                                                                         I

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        11.    Defendant Han°is is believed to have been a student and matriculated at

Bloomsbury University with a permanent residence in the City of Bethlehem, and at all times




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       Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 11 of 39




mentioned herein was a visitor on the campus of Defendant Moravian at the time of the incident      I

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complained of hereinafter.

       12.    On or about August 24, 2017, Plaintiff attended a celebration following the end of

pre-season cheerleading.

       13.     At the time, date and place aforesaid the cheerleaders from Defendant Moravian       i



went to a restaurant known as On the Border for dinner, where she ate and did not consume any
                                                                                                    l


alcoholic beverages.

        14.    Following dinner at On the Border, the Plaintiff went to the cheerleading house

an-iving at approximately 7:00 p.m., known as the "cheerleading house" located in the Hillside

Complex 4 OD the Campus of Defendant Moravian and believed to be owned by the Defendant                 [

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Moravian.                                                                                                I

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        15.    While at the Cheerleading House, the Plaintiff (who was underage) consumed

alcoholic beverages consisting of Malibu Coconut Rum and at least one beer. This alcohol is             2



believed to have been provided by the cheerleaders who were over the age of 21 to the Plaintiff         i
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and other minors.

        16.    At approximately 11:40 p.m., on August 24, 2017, the cheerleaders that remained

at the party decided to walk to a residence known as the "Football House", a residence located at

127 West Laurel Street, City of Bethlehem, County of Northampton, Commonwealth of                        IE
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Pennsylvania. Plainti§ believes and therefore avers that 127 West Laurel Street is located on the           [
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campus of Defendant Moravian and is in fact owned by Defendant Moravian.
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         Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 12 of 39




         17.   Upon arrival at the Football House there were approximately 20 or more males in

the house and an unauthorized party was in process. To the best of Plaintiff's belief, she did not

consume any alcoholic beverages while at the Football House.

         18.   Acer am'ving at the party the Plainti§ felt dizzy and sick and at that time she was

provided with a sealed bottle of water, which Plaintiff consumed. Following the consumption of

that water, the empty water bottle was refilled with what the Plaintiff believed to be water and

she consumed five to six of the refilled water bottles. Following the consumption of the water

the Plaintiff felt dizzy and was not feeling well she believed from drinking too much water at the

party,

         19.   While at the football house party the Plaintiff was approached by Defendant
                                                                                                     I

Harris and various conversations ensued and approximately ten to fifteen minutes after the other

cheerleaders had vacated the party the Plaintiff believes that she informed Defendant Hands and

Defendant Cash-Mabry that she was going to go back to her donn room whereupon Defendants             I
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Harris and Cash-Mabry began to walk her back to her doom room .

         20.   During the walk from the football house to Plaintiffs dorm, the Plaintiff believes

that she had to go to the bathroom and that she was informed by Defendant Harris that Defendant
                                                                                                     i
Cash-Mabry's dorm was on the way and that they could stop there to use the bathroom. Plaintiff

believes that she agreed to that plan.

         21.    At some time during the walk from the football house to Plaintiffs dorm, the

Plaintiff believes and therefore avers that the Defendants Harris or Cash-Mabry either placed a

phone call, sent a text message and/or other electronic communication to Defendant Diaz alerting

him to the fact Defendant Han'is and Defendant Cash-Mabry were taking the Plaintiff Jane Doe

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        Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 13 of 39




to Defendant Cash-Mabryls dorm room. It is believed and therefore averred that either one or

both of these two Defendants suggested, inferred, or alluded to their intent to have a "three

some" with Plaintiff Jane Doe and invited Defendant Diaz to participate in this planned

endeavor.

        22.    Upon arriving at the Austin-Spangenberg House on Campus, the location of
                                                                                                     _I

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Defendant Cash-Mabry's residence on the Defendant Moravian's Campus referred to as a section

called "Spang-F", the Defendants Cash-Mabry and Harris showed the Plaintiff the upstairs

bathroom, which Plaintiff recalls using.
                                                                                                     i
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        23.     After leaving the bathroom the Plaintiff 's next memory is being in a bedroom        II
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(believed to be Defendant Cash-Mabry's room in Spang-F) and at that point remembers the

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Defendants removing her clothing and all three Defendants taking turns orally and vaginally
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penetrating the Plaintiff Jane Doe .
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        24.    P1ainti8 does not remember the full encounter and is unsure whether she blacked

out during these assaults. Plaintiff does remember moments of the various encounters, and in
                                                                                                     I
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specific, Defendant Diaz pulling her hair, hitting her and using excessive force while instructing   I
                                                                                                     II
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her to perform oral sex on Defendant Cash-Mabry. PlaintiE remembers language being used                  I




toward her such as bitch and other derogatory terms on a repeated basis and recalls the bedroom

door occasionally opening and closing and lights flashing.                                               i
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        25.     Plaintiff was unaware whether or not the flashings were a flashlight or some sort

of video or camera device.



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        Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 14 of 39




       26.     Plaintiff believes and therefore avers that she never consented to the sexual

assaults, and that as a result of either intoxication or unknown ingestion of drugs that she lacked

the capacity to consent to these sexual assaults.

       27.     Following the sexual incidents occurring in Defendant Cash-Mabry's room, the

next memory of the incident of the Plaintiff was somehow putting her shoes back on, taldng her

purse and going to the bathroom located across from Defendant Cash-Mabry's room. Plaintiff

recalls crying in the bathroom and wanting to leave the Defendant Cash-Mabry's room and when

she left the bathroom Defendant Harris was waiting in the hallway and informed her he was

taldng her back to her dormitory building.

        28.    Plaintiff believes and therefore avers that during the heretofore described non-

consensual sexual assaults, that the Defendants Ham' s, Cash-Mabry, and Diaz either individually

or jointly, filmed on video some of the various sexual acts being committed against the Plaintiff

Jane Doe without her permission and/or consent.                                                         i
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        29.     Plaintiff believes and therefore avers that the Defendants Ham's, Cash-Mabry, and

Diaz further without the Plainti8 Jane Doe's permission published these various video or

"snaps" to various other students at Defendant Moravian, their friends and acquaintances by

electronic means also without her express consent and/or permission.

        30.     Plaintiff believes and therefore avers that a policy prohibiting the dissemination of
                                                                                                        III

such visual images by electronic means or otherwise existed under Defendant Moravian's

established policies, and, in fact, was/is illegal under Pennsylvania Law.

        31.     Plaintiff believes and therefore avers that at some point during the walk when

Defendant HaMs was accompanying Plaintiff Jane Doe back to her dormitory building that the

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        Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 15 of 39




subject of videotaping of the sexual assault was discussed between the Plaintiff Jane Doe and

Defendant Har'rlls. P1ai11ti8` Jane Doe has 110 memory of that particular conversation, but it is

believed and averred that the Defendant Ham's informed the Plaintiff in no uncertain terms that

there were no video tapes of what had occurred in Defendant Cash-Mabry's dormitory room,

according to a statement given by Defendant Harris to Defendant Moravian's Title IX

investigators.

        32.      Plainti8` believes and therefore avers that beginning after the sexual assaults and   I
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continuing into the new day that the Defendants HaMs, Cash-Mabry, and Diaz were engaging in

text based discussions with Defendant Moravian College students and others who had received

the images electronically sent by the Defendants Han*is, Cash-Mabry, and Diaz concerning the

non-consensual sexual assault incident heretofore described.

        33.      Plaintiff believes and therefore avers that at least one of the cell phones of the

Defendant assailants was obtained by the Bethlehem Police Department (BPD) and upon

extraction that there well comments from at least one of the individual assailants, which read as

follows:

        "We took her virginity" , "Y'aI1 really violated that girl", "She was calling us Daddy",
        "She was fingering herself, I never saw a girl do that", "She was crying in the bathroom",
        "So, we may have a case", and "Yeah, cuz Bento punched her".

        34.      Plaintiff believes and therefore avers that all three Defendants Hands, Cash-

Mabry, and Diaz were involved in the texting backing and forth about the incident along with

other individuals.




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        Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 16 of 39




       35.      Plaintiff has no recollection of any conversation happening during Defendant

Harris accompanying her back to her OWI1 dormitory bu_ild'ulg. She also does not actually recall

getting inside her dorm building (Wilhelm Hall) or going upstairs to her dorm room.

       36.      P1ai11ti8 woke up the next morning wearing the clothes from the night before and

remembered portions of the assaults that came back to her upon awakening .

       37.      On or about that mouing of August 25, 2017, upon awakening the Plaintiff met

her parents since it was freshman orientation day, and having received a tem from her roommate

and an R.A., she left her parents and informed an R.A., what had happened and thereafter

formally reported the assault to campus security.

        38.     Following the formal report to campus safety, the Plainti1T was introduced to a




        39.     Following the formal report to campus safety, the BPD began an investigation

into the incident and a Title IX Investigation was also begun by the Defendant Moravian.

                                  FIRST CAUSE OF ACTION
                                         COUNT I
                                           L
              CI.A\M IINWR TITLE IX (20 I ,S,C.A, §\68\) SEXUAL ASSAUIT
              PIAINTIFF -TANF DOE v. DEFENDANT M0RAVIAN col -I .EAR

                                           JANE DOE
                                                  vs.
                                    MORAVIAN COLLEGE
        40.     P1aintiE incorporates by reference paragraphs one through thirty nine, as though

same were set forth fully and at length herein.




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       Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 17 of 39




       41.     Title TX (20 U.S.C.A. §168l), provides in subsection (a), Subject to certain

exceptions, that "(n)o person 'm the United States shall on the basis of sex be excluded from

participation in, be denied the benefits of, or be subject to discrimination under any Education

Program or activity receiving Federal Financial Assistance," where the Plaintiff Jane Doe, as

Student, was sexually abused and harassed by the individual Defendants Ham's, Cash-Mabry,

and Diaz.

       42.     P1aintiE was subjected to a violent sexual attack as set forth above .

        43.    Defendant Moravian, at all times material hereto, was consciously deliberately

indi8erent to this sexual assault that was so severe, pervasive, and objectively offensive as to

deprive the Plaintiff the educational benefit opportunities provided by the Defendant Moravian.

Although the Defendant Moravian began a Title IX Investigation, the deliberate indifference to

the sexual assault and actual policy violation concerning temping and dissemination of

information constitute a deliberate indifference causing the Pla'mtiff Jane Doe to undergo

repeated harassment and subjecting her to and making her vulnerable to that harassment during
                                                                                                       1




her entire tenure at Defendant Moravian following the event,

        44.     As a direct and proximate result of Defendant Moravian's deliberate indi8lerence

by and through its agents, servants and employees as set forth above, and as a substantial factor

in bringing about the injuries to the Plaintiff; Plaintiff Jane Doe has been caused to suffer mental

and physical pain, anguish and agony, which Plaintiff has suffered, yet suffers, and will continue

to suffer, for an indefinite time in the future.

        45.     Further, Plaintiff avers that she has sustained other injuries including bruising,

contusions, and contraction of a STD.

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       Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 18 of 39




        46.       As a result of the aforesaid Defendant Moravian's deliberate indifference and

willful misconduct by and through its agents, servants and employees, Plaintiff Jane Doe has

undergone in the past and will in the future continue to undergo and super great physical pain

and emotional distress and anguish, all of which may continue in the future.

        47.       As a result of the aforesaid Defendant Moravia's deliberate indifference and

willful misconduct by and through its agent, sen/ants and employees, PlaintiH` has suffered the

loss of the end oyment of her usual duties and life's pleasures and activities, all to her great

detriment and loss and will continue to suffer same into the future.

        48.       As a result of the aforesaid Defendant Moravian's deliberate indifference and

willful misconduct by and through its agent, servants and employees, the Plaintiff Jane Doe was


detrimentally affected in her educational pursuits, affecting her grades, her completion of            i



classwork, and her ability to feel safe and secure in her residence, all of which created a hostile

educational environment for Plaintiff Jane Doe at Defendant Moravian's main campus.
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        49.       As a result of the aforesaid Defendant Moravian's deliberate indifference and

willful misconduct by and through its agent, servants and employees, caused the PlaintiE Jane

Doe undue stress, discord, anxiety and affected both her physical and emotional health and well

being and her ability to participate fully in her student activities both academically and socially.

        WHEREFORE, Plaintig Jane Doe respectfully requests that this Honorable Court enter

judgment in her favor and against the Defendant Moravian for an amount in excess of Fifty

Thousand ($50,000.00) Dollars, together with interest, costs and reasonable attorneys' fees.




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       Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 19 of 39




                                            COUNT II

             CLAIM UNDER TITLE IX (20 U.S.C.A. §1681) DAVIS CLAIM FOR
                      HOSTILE COLLEGIATE ENVIRONMENT
             PLAINTIFF JANE DOE v. DEFENDANT MORAVIAN COLLEGE

                                            JANE DDE
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                                                  vs.
                                    MORAVIAN COLLEGE
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       50.     Plaintiff incorporates by reference paragraphs one through forty nine, as though    :


same were set forth fully and at length herein.

       51.     Title IX (20 U.S.C.A. §I68l), provides in subsection (a), Subject to certain

exceptions, that "(n)0 person in the United States shall on the basis of sex be excluded from

participation in, be denied the benefits of, or be subject to discrimination under any Education
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Program or activity receiving Federal Financial Assistance," where the Plaintiff, a Student, was

sexually abused and harassed by the Defendants Harris, Cash~Mabry and Diaz.
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       52.     As set forth heretofore in the Complalmt, following the first report made to          i
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Campus Security, the Plaintiff Jane Doe was subjected to the continual presence of the

Defendants Cash-Mabry and Diaz on the Campus of Defendant Moravian despite the entry of a

"No Contact Order", and in fact, the No Contact Order was not strictly enforced against the

Defendant attackers, and conversely the Defendant Moravian, offered no remedies to the victim

in this matter, Plaintiff Jane Doe, who was subjected to publications and dissemination of video        :

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recordings of the actual sexual assault in violation of school policy.

        53.     Plaintiff Jane Doe believes and avers that after the assault, the attackers'

continued presence not only on the campus, but in and at various athletic events including those



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        Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 20 of 39




where the Plaintiff was participating in cheerleading, was and should have been ruled a violation

of the No Contact Order and that same was not enforced and having to endure the continued

presence of the Defendants attackers deprived her of the institution's educational benefits and

opportunities.

       54.       Plaintiff Jane Doe believes and avers that the complete inaction of the Defendant

Moravian with respect to do violation of numerous Defendant Moravian policies including
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coronation of underage driMdng, coronation of an unauthorized party, condonation of

electronic transfer of inappropriate images, all remained unaddressed by the Defendant

Moravian, and therefore, constitute deliberate indiHlerence in the wake of this sexual assault.
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        55.      Plaintiff Jane Doe believes and avers that the Defendant Moravian's failure to

appropriately respond to, discipline, or in any way effectively address the issues of underage
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drinldng, and unau1;horized patties, and violation of dissemination of sexually explicit materials

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by electronic means, all of which involved the conduct of her attackers resulted in the Defendant

failing in its duty under Title IX to prevent future harassment and contact by the violent, sexual       i


predators, Defendants Cash~Mabry and Diaz. Therefore, it is believed and averted that the

severity of the harassment, was within the actual and/or constructive notice of the Defendant
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Moravian, and that the Defendant Moravian exhibited deliberate indifference to this harassment

by taldng absolutely no corrective action concerning these established violations of polices

outside the area of the violent sexual assault that was perpetrated upon the Plaintiff Jane Doe by

the individual assailants listed herein.

        56.      Plaintiff Jane Doe as a direct and proximate result of the deliberate indifference of

the Defendant Moravian, following this violent sexual assault allowed this hostile collegiate

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       Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 21 of 39




environment under the standards extant in Davis v. Monroe County Board of Education. et al..

119 s.cr. 1661 (1999).

       57.     Plaintiff believes and therefore avers that under the facts following the attainment

of knowledge by the Defendant Moravian's employee, agent and servant, Ms. Breech, that

Defendant Moravian did not act promptly given the nature of this sexual assault, which was SO




were factually established, barred the victim access to an educational opportunity or benefit, and

that further, Defendant Moravian had, but failed to exercise substantial control over the

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Defendant attackers, Cash-Mabry and Diaz and had actual knowledge that the continued                       I
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presence and interaction of 'these two Defendants with the Plaintiff Jane Doe was continuing to

cause further physical and emotional stress to the Plaintiff depriving her of her educational
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opportunity and benefits.

       58.     As a direct and proximate result and substantial factor this failure to act and in
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deliberate indifference in the wake of these violent sexual assault caused the Plaintiff all of the

damages set forth in paragraphs 43 through 49 of this Complaint.

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       59.      Any and all commissions and/or omissions, practices and policies of Defendant

Moravian as set forth above, collectively constitute violations of Title IX, 20 U.S.C-A. §l68l,

which prohibits sexual hostile climates in schools,
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        WHEREFORE, PlaintiE Jane Doe respectfully requests that this Honorable Court enter

judgment in her favor and against the Defendant Moravian for an amount in excess of Fifty

Thousand ($50,000.00) Dollars, together with interest, costs and reasonable attorneys' fees.




                                                 14
 Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 22 of 39




                                           COUNT III

          CLAIM UNDER TITLE IX (20 U.S.C.A. §1681) BEFORE CLAIM FOR
                    HOSTILE COLLEGIATE ENVIRONMENT
           PLAINTIFF JANE DOE V. DEFENDANT MORAVIAN COLLEGE

                                           JANE DOE
                                                  vs.
                                   MORAVIAN COLLEGE
       60.     Plaintiff incorporates by reference paragraphs one through fif%y nine, as though

same were set forth fully and at length herein.

       61.     Title IX (20 U.S.C.A. §l68l), provides in subsection (a), Subject to certain

exceptions, that "(n)o person in the United States shall on the basis of sex be excluded from

palticipation in, be denied the benefits of, or be subject to discrimination under any Education

Program or activity receiving Federal Financial Assistance," where the Plaintiff, as Student, was

sexually abused and harassed by the Defendant assailants.

       62,     Plaintiff Jane Doe believes and therefore avers that Defendant Moravian had

actual notice (and itself allowed to exist) a long standing, emremely hostile sexual environment

of rape on its campus .

        63.    Plaintiff Jane Doe believes and therefore avers that Defendant Moravian prior to

2016 based upon data reported under the Federal Clearly Act out of 66 schools reporting in

Pennsylvania that Defendant Moravian had the fourth highest total of rapes per thousand at 3.6.

        64.    Plainti8 believes and therefore avers that Defendant Moravian was aware that the

majority of rapes and sexual assaults occurred in the first few weeks of school year, a period

known as the "Red Zone" and that Defendant Moravian knew or should have known of this fact.



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Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 23 of 39




       65.     Plaintiff believes and therefore avers that Defendant Moravian may have been

aware of a higher level of sexual assault and rape by male athletes committed upon Defendant

Moravian students and that such conduct was ignored and not addressed 'm any meaningful

fashion by Defendant Moravian.

       66.     Plainti8` believes and therefore avers that Defendant Moravian knew of the

propensity of assault and has responded inadequately with deliberate indifference in either a

pattern of failing to report such incidents, or electively investigate such incidents.

       67.     Plaintiff believes and therefore avers that the Defendant Moravian has failed to

implement appropriate disciplinary measures, or in some cases, any discipline at all, for

violations of campus policies with regard to student athletes, which relate to an environment that

is conducive to sexual assault and rape. Among these activities as engaged in in this case are

underage drinking, setting and tercting of explicit sexual materials without consent of people

contained Ln the imaging, non~sexua1 assaults and other crimes and that the Defendant Moravian

has been aware of and condoned, ignored or failed to adequately discipline this student athlete

behavior.

        68.    Pla°mti8` believes and therefore avers that the provision of the dormitories such as

the "football house" described above fosters a fraternity like atmosphere wherein the Defendant

Moravian failed to discipline or in any other way sanction the residents of the "football house"

for conducting unauthorized parties, and in particular, parties at which `mto)dcating beverages

were commonly provided to minors in violation of Defendant Moravian policies .

        69.     In addition to the improper response to allegations of athlete misconduct the

Defendant Moravian has engaged in other practices that actually foster the creation of a sexually

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Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 24 of 39




hostile environment and make female Moravian students vulnerable to sexual assault. In

particular, the Defendant Moravian's athletic department has engaged in a pattern of encouraging

parties with underage drinking to benefit the program including the recruiting of athletes.

        70.    Plainti8` believes and therefore avers that the Defendant Moravian's athletic

departments are not Clery compliant and that that omission further fosters the rape culture among

athletes .

        71.    Plaintiff believes and therefore avers that Defendant Moravian does an inadequate

orientation of students regarding the dangers of rape OD Defendant Moravian's campus and

sexual assault on Defendant Moravian's campus, as well as not mandatorily providing Chery

statistics, but rather providing these materials to students "only upon request

         72.   Plaintiff believes and therefore avers that Defendant Moravian has not launched

e8ective campus wide mandatory programing on sexual assault prevention, Red Zone education

and bystander training, to properly iMorm matriculated students of the dangers of sexual assault

on the Defendants campus .

         73.   Plaintiff believes and therefore avers that Defendant Moravian's athletics

department may have intexfered with and covered up allegations of misconduct by the Defendant

Moravian athletes/assailants in the aftermath of the sexual assault on Plainti8` Jane Doe.

         74.   Plaintiff believes that despite the evidence of actual violation of Defendant

Moravian's policies regarding the sexting images, the unauthorized party, and underage drinking

that no substantive or disciplinary action was taken by Defendant Moravian against these

offenders in deliberate indifference to this culture of rape and sexual assault.




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Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 25 of 39




       75.     As a direct and proximate result and substantial factor this failure to act and

deliberate indifference in the wake of the violent sexual assault culture the Plaintiff was caused

all the damages set tbrth in paragraphs 43 through 49 of this Complaint.

       WHEREFORE, PlaintiE Jane Doe respectfully requests that this Honorable Court enter

judgment in her favor and against the Defendant Moravian for an amount in excess of Fifty

Thousand ($50,000,00) Dollars, together with interest, costs and reasonable atiomeys' fees.

                                            COUNT Iv
                INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                      UNDER PENNSYLVANIA COMNION LAW
                                            JANE DOE

                                                  vs.

                                     MORAVIAN COLLEGE
        76.    Plainti§ incorporates by reference paragraphs one through seventy five, as though

same were set forth fully and at length herein.

        77.    Defendant Moravian by allowing the hostile collegiate environment to continue to

exist between the original reporting to Defendant Moravian's campus security and up until the

Plaintiff's transfer to another college, by refusing any reasonable accommodation to the Plaintiff

concerning the continued presence of the violent sexual predator Defendants, Cash-Mabry and

Diaz, to be in the presence of Plaintiff without any discipline whatsoever was acting intentionally

and recldessly, beyond all possible bounds and decency and said Defendant's conduct is regarded

as atrocious and utterly intolerable in a civilized society.

        78.     Defendant Moravian's action in not disciplining the Defendants Cash-Mabry and

Diaz by and through their agents, servants and employees and minimizing the Defendant's



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  Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 26 of 39




conduct apart from the violent sexual assault (setting, texting, transmitting images, underage

drinking) constitutes actions taken intentionally and/or recklessly beyond all possible bounds and

decency, and said Defendants conduct is regarded as atrocious and utterly intolerable in a

civilized society.

           79.   As a direct and primate result of the above-described occurrence and as a

substantial factor in the bringing about the damages to the Plainti'8 Jane Doe, Plaintiff suffered a

severe infliction of emotional distress and embarrassment, past, present and future,

           80.   As a direct and proximate result of the above-described occurrence and as a

substantial factor in the bringing about the damages to the P1ainti8 Jane Doe, the acts of the

Defendant Moravian and its agent, servant and employees, the Plaintiff lived in continual fear of

physical hand and severe emotional distress because of the presence of the violent, sexual

predators Defendants Cash-Mabry and Diaz.

           81.   As a direct and proximate result of the above-described occurrence and as a

substantial factor in the bringing about the damages to the Plaintiff Jane Doe, d1e acts of the

Defendant Moravian and its agent, servant and employees, the Plaintiff Jane Doe suffered shock

and injury to her nerves and nervous system and other severe and serious injuries, all of which

are or may be permanent in nature.

           82.   As a direct and pro)dmate result of the above~described occurrence and as a

substantial factor in the bringing about the damages to the Plaintiff Jane Doe, the acts of the

Defendant Moravian and its agent, servant and employees, the Plaintiff Jane Doe suffered and

 will continue to suffer embarrassment, emotional distress and anguish, and loss of the en oyment

of life.

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                             Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 27 of 39




                                  83.     At all times material hereto, the Defendant Moravian and their agents, servants

                           and employees, willful misconduct, as heretolbre set forth in this Complaint, was a part of an

                           ongoing pattern of discrimination, and were continuing violations of the PlaiMiff's rights leading

                           to a compounding of damages as set forth heretofore.

                                  84.     Plaintiff Jane Doe hereby demands punitive damages against the Defendant

                           Moravian, based upon these outrageous and/or reckless acts believed to have been accompanied

                           by bad motives and/or with a reckless indifference to the interest and welfare of the Plaint      Jane

                           Doe.


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                                  WHEREFORE, Plaintiff Jane Doe respectfully requests that this Honorable Court enter
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                           judgment in her favor and against the Defendant Moravian for an amount in excess of Fifty

                           Thousand ($50,000,00) Dollars, together with punitive damages.
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                                                                       COUNT V
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                                                             COMMON LAW NEGLIGENCE
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                                                                      JANE DOE
                                                                             V.
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          II                                            DEFENDANT MORAVIAN COLLEGE
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                                   85.     P1ainti8 incorporates by reference paragraphs one through eighty four, as though
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    |                      same were set forth fully and at length herein.
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                                   86.     Plaintiff Jane Doe was a business invitee of the Defendant Moravian upon her

                           matriculation at that institution.
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                                   87.     Plaintiff believes and therefore avers that as a business invitee the Defendant

                           Moravian had a duty to provide protection and methods to safe guard the Plaintiff Jane Doe and



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      Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 28 of 39




other female students from the foreseeability of violent assaults such as the Plaintiff Jane Doe

endured, said duty being established under both Federal and State Laws.

         88.    Plaintiff incorporates herein by reference all the negligence, intentional and

deliberately indifferent acts set forth heretofore in this Complaint,

         89.    Plaintiff believes and therefore avers that the preparation for and provision of

such safeguards should be greater than that provided by a homeowner for their guests under

Pennsylvania Law.

         90.    Plaintiff believes and therefore avers that under a business invitee relationship the

Defendant Moravian had a duty to warn students of the danger of potential sexual assaults on

campus OD women and to further instruct and educate all students of said danger.

         91.    As a direct and proximate result of the negligent acts of the Defendant Moravian,

 the Plaintiff has su8lered all of the damages set forth heretofore in this Complaint, as though set

 forth fully and at length herein.

         WHEREFORE, Plaintiff Jane Doe respectfully requests that this Honorable Court enter

 judgment in her favor and against the Defendant Moravian for an amount in excess of Fifty

 Thousand ($50,000.00) Dollars.

                                     SECOND CAUSE OF ACTION
                                              COUNT I
                                      ASSAULT AND BATTERY

                                             JANE DOE

                                                  V.

                                     DEFENDANT CASH-MABRY



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             Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 29 of 39




                  92.     Plaintiff incorporates by reference paragraphs one through ninety one, as though

           same were set forth Fully and at length herein.

                  93.     Plaintiff believes and therefore avers that the Defendant Cash-Mabry intentionally

           attempted by force to do an injury to her person, to wit, commit a forceable acts of penetration

           (vaginally and orally) upon the Plaintiff without her consent.

                  94.     Plaintiff believes and therefore avers that the Defendant as set for heretofore

           committed battery upon her in a violent manner without her consent by actually penetrating her

           orally and vaginally on August 25, 2017.

                  95.     As a direct and proximate result and as a substantial factor in the bringing about

           the injuries to the P1ainti8, the P1ainti8 Jane Doe suffered all the injuries and damages set forth

           heretofore in this Complaint as through same were set forth fully and at length herein.

                  WHEREFORE, Plaintiff Jane Doe respectfully requests that this Honorable Court enter

           judgment in her favor and against the Defendant Cash Mabry for an amount in excess of Fifty

           Thousand ($50,000.00) Dollars, together with punitive damages.

                                                       COUNT II

                           INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                                 UNDER PENNSYLVANIA COMMON LAW
........




                                                       JANE DOE

                                                             v.

                                            DEFENDANT CASH-MABRY
                   96.    Plalmtiff incorporates by reference paragraphs one through ninety five, as though

           same were set forth fully and at length herein.




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       Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 30 of 39




           97.     Defendant Moravian by allowing the hostile collegiate environment to continue to

    exist between the original reporting to Defendant Moravian's agent, servant and employees,

    while Pla'mtiE Jane Doe was in attendance at Defendant Moravian, by refusing any reasonable

    accommodation to the Plaintiff concerning the continued presence of the violent sexual predator

    Defendant Cash-Mabry on the campus without disciplining him as set forth heretofore was

    regarded as atrocious and utterly intolerable in a civilized society.

            98.    Defendant Cash-Mabry's actions in continuing contacts with the Plaintiff after

    this violent sexual assault continued actions taken intentionally and/or recklessly beyond all

    possible bounds and decency, and said Defendant Cash-Mabry's conduct is regarded as atrocious

    and utterly intolerable in a civilized society.

            99.     Defendant Cash-Mabry's participation in texting about this incident as well as
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    participating in the electronic transmission of images 13°om the assault, were acts taken

    intentionally and/or recklessly, and constitute acts beyond all possible bounds and decency and

    said Defendants conduct was continuous and regarded as atrocious, and utterly intolerable in a

    civilized society.

            100.    As a direct and proximate result of the above-described occurrence and as a

    substantial factor in the brining about the damages to the Plaintiff Jane Doe, Plaintiff suffered a

    severe infliction of emotional distress and embarrassment, past, present and future.

            101.    As a direct and proximate result of the above-described occurrence and as a

    substantial factor in the brining about the damages to the Plaintiff Jane Doe, the acts of the

    Defendant Cash-Mabry, the Plaintiff lived severe emotional distress because of the presence of




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    Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 31 of 39




the violent, sexual predator Defendant Cash~Mabry, up until her transfer from Defendant

Moravian.

           102.   As a direct and proximate result of the above-described occurrence and as a

substantial factor in the brining about the damages to the Plaintiff Jane Doe, the acts of the

Defendant Cash-Mabry, the Plainti8 Jane Doe suffered shock and injury to her nerves and

nervous system and other severe and serious injuries, all of which are or may be permanent in

nature »


           103.   As a direct and proximate result of the above-described occurrence and as a

substantial factor in the brining about the damages to the Plaintiff Jane Doe, the acts of the

Defendant Cash-Mabry, the P1aintiH' Jane Doe suffered and will continue to suffer

embarrassment, emotional distress and anguish, and loss of the enjoyment of life.

           104.   At all times material hereto, the Defendant Cash-Mabry's willful misconduct, as

heretofore set forth in this Complaint, was a part of an ongoing pattern of discrimination, and

were continuing violations of the Plainti8's rights leading to a compounding of damages as set

forth heretofore .

           105.   Plainti8` Jane Doe hereby demands punitive damages against the Defendant Cash-

Mabry, based upon these outrageous and/or reckless acts believed to have been accompanied by

bad motives and/or with a reckless indi8erence to the interest and welfare of the Plaintiff Jane

Doe .

           WHEREFORE, PlaintiH Jane Doe respectfully requests that this Honorable Couxf enter

judgment in her favor and against the Defendant Cash-Mabry for an amount in excess of Fifty

Thousand ($50,000.00) Dollars, together with punitive damages .

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              Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 32 of 39




                                            THIRD CAUSE OF ACTION
                                                       COUNT I

                                             ASSUALT AND BATTERY

                                                      JANE DOE
                                                            v.
                                                 DEFENDANT DIAZ
                  106. Plainti8` incorporates by reference paragraphs one through one hundred five, as

           though same were set forth fully and at length herein.

                  107.    P1aintiH believes and therefore avers that the Defendant Diaz intentionally

           attempted by force to do an injury to her person, to wit, commit a forceabie acts of penetration

           (vaginally and orally) upon the Plaintiff without her consent.

                  108.    Plaintiff believes and therefore avers that the Defendant as set forth heretofore
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           committed battery upon her in a violent manner without her consent by punching her in the face

           and actually penetrating her orally and vaginally 011 August 25, 2017.

                  109.    As a direct and proximate result and as a substantial factor in the bringing about

           the injuries to the P1aintiH', the P1ainti8 Jane Doe supered all the injuries and damages set forth

           heretofore in this Complaint as through same were set forth fully and at length herein.

                   WHEREFORE, Plaintiff Jane Doe respectfully requests that this Honorable Court enter

           judgment in her favor and against the Defendant Diaz for an amount in excess of Fifty Thousand

........
           ($50,000.00) Dollars, together with punitive damages.




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    Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 33 of 39




                                             COUNT 11

                INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                      UNI)ER PENNSYLVANIA COMMON LAW

                                            JANE DOE
                                                  v.
                                       DEFENDANT DIAZ
       110.    Plainti8 incorporates by reference paragraphs one through one hundred nine, as

though same were set forth fully and at length herein.

       111.    Defendant Moravian by allowing the hostile collegiate environment to continue to

exist between the original reporting to Defendant Moravian's agent, servant and employees,
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while Plainti5 Jane Doe was in attendance at Defendant Moravian, by refusing any reasonable

accommodation to the Plaintiff concerning the continued presence of the violent sexual predator

Defendant Diaz on the campus without disciplining him as set forth heretofore was regarded as

atrocious and utterly intolerable in a civilized society.

        112.    Defendant Diaz's actions in continuing contacts with the Plaintiff after this violent

sexual assault continued actions taken intentionally and/or recklessly beyond all possible bounds

and decency, and said Defendant Diaz's conduct is regarded as atrocious and utterly intolerable

in a civilized society.

        113.    Defendant Diaz's participation in testing about this incident as well as

participating in the electronic transmission of images from the assault, were acts taken

intentionally and/or recklessly, and constitute acts beyond all possible bounds and decency and

said Defendant's conduct was continuous and regarded as atrocious, and utterly intolerable in a

civilized society.

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        Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 34 of 39




           114.    As a direct and proximate result of the above-described occurrence and as a

    substantial factor in the brining about the damages to the Plaintiff Jane Doe, Plainti8` suffered a

    severe infliction of emotional distress and embarrassment, past, present and future.

           115.    As a direct and proximate result of the above-described occurrence and as a

    substantial factor in the brining about the damages to the Plaintiff Jane Doe, the acts of the

    Defendant Diaz, the Plaintiff lived severe emotional distress because of the presence of the

    violent, sexual predator Defendant Diaz, up until her transfer from Defendant Moravian.

            116.    As a direct and provdmate result of the above~described occurrence and as a

    substantial factor in the brining about the damages to the Plaintiff Jane Doe, the acts of the
I
    Defendant Diaz, the P1ai11tiE Jane Doe suffered shock and injury to her nerves and nervous

    system and other severe and serious injuries, all of which are or may be permanent 'm nature.

            117.    As a direct and proximate result of the above-descdbed occurrence and as a

    substantial factor in the brining about the damages to the P1a'LntiE Jane Doe, the acts of the

    Defendant Diaz, the P]almtiH` Jane Doe su8ered and will continue to sutler embarrassment,

    emotional distress and anguish, and loss of the enjoyment of life.

            118.    At all times material hereto, the Defendant Diaz's willful misconduct, as

    heretofore set forth in this Complaint, was a part of an ongoing pattern of discrimination, and

    were continuing violations of the P1aintitT's rights leading to a compounding of damages as set

    forth heretofore .

            119.    Plaintiff Jane Doe hereby demands punitive damages against the Defendant Diaz,

    based upon these outrageous and/or reckless acts believed to have been accompanied by bad

    motives and/or with a reckless indifference to the interest and welfare of the Plaintiff Jane Doe.

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        Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 35 of 39




           WHEREFORE, Plaintiff Jane Doe respectfully requests that this Honorable Court enter

    judgment in her favor and against the Defendant Diaz for an amount in excess of Fifty Thousand

    ($50,000.00) Dollars, together with punitive damages.

                                     FOURTH CAUSE OF ACTION
                                                 CGUNT 1

                                       ASSAULT AND BATTERY

                                                JANE DOE

                                                      V.

                                         DEFENDANT HARRIS
           120.    Plainti8` incorporates by reference paragraphs one through one hundred nineteen,

    as though same were set forth fully and at length herelm.

            121.   Plainti8` believes and therefore avers that the Defendant Hards intentionally

    attempted by force to do an 'injury to her person, to wit, commit a forceable acts of penetration

    (vaginally and orally) upon the Plaintiff without her consent.

            122.   Plaintiff believes and therefore avers that the Defendant Harris as set forth

    heretofore committed battery upon her in a violent manner without her consent by actually

    penetrating her orally and vaginally O11 August 25, 2017.

            123.    As a direct and proximate result and as a substantial factor 'm the bringing about

    the injuries to the Plaintiff, the Plaintiff Jane Doe suffered all the injuries and damages set forth

    heretofore 'm this Complaint as through same were set forth fully and at length herein.




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           Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 36 of 39




              WHEREFORE, Plaintiff Jane Doe respectiillly requests that this Honorable Court enter

       judgment in her favor and against the Defendant Ham's for an amount in excess of Filly

       Thousand ($50,000.00) Dollars, together with punitive damages.

                                                  COUNT II
                      INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                            UNDER PENNSYLVANIA COMMON LAW

                                                  JANE DOE

                                                       V.

                                           DEFENDANT HARRIS
              124.    P1ainti8 'incorporates by reference paragraphs one through one hundred twenty
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 :     three, as though same were set forth fully and at length herein.
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              125.    Defendant Moravian by allowing the hostile collegiate environment to continue to

       evdst between the original reporting to Defendant Moravian's agent, servant and employees,


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       while PlaintiE Jane Doe was in attendance at Defendant Moravian, by refusing any reasonable
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       accommodation to the Plaintiff was regarded as atrocious and utterly intolerable in a civilized
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       society.

              126.    Defendant Harris' actions concerning the Plaintiff amer this violent sexual assault

       were taken intentionally ardor recklessly beyond all possible bounds and decency, and said
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   |
       Defendant Harris' conduct is regarded as atrocious and utterly intolerable in a civilized society.

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               127.   Defendant Ham's' participation in theming about this incident as well as

       participating in the electronic transmission of images from the assault, were acts taken

       intentionally and/or recklessly, and constitute acts beyond all possible bounds and decency and




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          Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 37 of 39




    said Defendants conduct was continuous and regarded as atrocious, and utterly intolerable in a

    civilized society.

            128.    As a direct and proximate result of the above-described occurrence and as a

    substantial factor in the brining about the damages to the Plaintiff Jane Doe, P1ainti5 suffered a

    severe infliction of emotional distress and embarrassment, past, present and Future.

            129.    As a direct and proximate result of the above-described occurrence and as a

    substantial factor in the brining about the damages to the Plaintiff Jane Doe, the acts of the

    Defendant Harris, the Plaintiff lived with severe emotional distress.

            130.    As a direct and proximate result of the above-described occurrence and as a

    substantial factor in the brining about the damages to the Plaintiff Jane Doe, the acts of the

    Defendant Ham's, the Plaintiff Jane Doe suffered shock and injury to her nerves and nervous

    system and other severe and serious injuries, all of which are or may be permanent in nature.

            131.    As a direct and proximate result of the above-described occurrence and as a

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    substantial factor in the brining about the damages to the Plaintiff Jane Doe, the acts of the

    Defendant Harris, the Plaintiff Jane Doe suffered and will continue to super embarrassment,

    emotional distress and anguish, and loss of the enjoyment of life.

            132.    At all times material hereto, the Defendant HaMs' willful misconduct, as

    heretofore set forth in this Complaint, was a part of an ongoing pattern of discrimination, and

    were continuing violations of the P1a'1nti8's rights leading to a compounding of damages as set

    forth heretofore.

            133.    Plainti§ Jane Doe hereby demands punitive damages against the Defendant

    Harris, based upon these outrageous and/or reckless acts believed to have been accompanied by

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           Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 38 of 39




    bad motives and/or with a reckless indi8erence to the interest and welfare of the Plaintiff Jane

    Doe,

            WHEREFORE, Plainti8 Jane Doe respectfully requests that this Honorable Court enter

    judgment in her favor and against the Defendant Harris for an amount 'm excess of Fifty

    Thousand ($50,000.00) Dollars, together with punitive damages.




                                                  Jd HN R. VIVIAN, JR.
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      Case 5:20-cv-00377-JDW Document 1 Filed 01/17/20 Page 39 of 39




IN THE COURT OF COMMON PLEAS OF NORTHAMPTON COUNTY, PENNSYLVANIA
                        CIVIL ACTION - LAW

JANE DOE,                                             )      No. C-0048-CV-2019-7701
                                                      )
                                        Plaintiff,    )
                                                      )
               vs.                                    )
                                                      )
MORAVIAN COLLEGE, ROLAND CASH-                        )
MABRY, ROBERTO DIAZ, and                              )
DOMINIC HARRIS a/k/a DOM HARRIS,                      )
Individually and .Iolmtly,                            )       CIVIL ACTION
                           Defendants.                )       JURY TRIAL DEMANDED


                                          VERIFICATION

       John R. Vivian, Jr., Esquire, attorney for the Plaintiff, verify that the statements made

within the same are true and correct to the best of his knowledge, information and belief, and as

attorney for the Plaintiffs he is best qualified to execute the foregoing, and he understands that

any false statements made herein are subject to the penalties of 18 Pa. C.S.A. §4904, relating to

unsworn falsification to authorities.




Dated: 12/13/2019
                                                        HN R. VIVIAN, JR.
                                                      LD, #34459
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                                                      Easton, PA 18042
                                                      (610) 258-6625
